      Case 4:10-cr-00281 Document 156 Filed on 04/16/12 in TXSD Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
                                               §
                                               §
VS.                                            §     CRIMINAL NO. H-10-281-4
                                               §
                                               §
DERWIN FRAZIER                                 §

                                          ORDER

       Counsel For Defendant Derwin Frazier is currently on suspension and therefore unable to

practice in the Southern District of Texas. The magistrate judge will appoint new counsel for the

defendant.

              SIGNED on April 16, 2012, at Houston, Texas.


                                                   ______________________________________
                                                            Lee H. Rosenthal
                                                      United States District Judge
